                       HIGHLY CONFIDENTIAL


                   UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF CALIFORNIA
                      SAN FRANCISCO DIVISION




FEDERAL TRADE COMMISSION,
     Plaintiff
                                      Case No. 23-cv-02880-JSC
    v.

MICROSOFT CORPORATION, et al.,
     Defendants




              DECLARATION OF DENNIS W. CARLTON

                             JUNE 26, 2023
                                HIGHLY CONFIDENTIAL

1.     I am the David McDaniel Keller Professor of Economics Emeritus at the Booth School of
Business of the University of Chicago. I received my A.B. in Applied Mathematics and
Economics from Harvard University and my M.S. in Operations Research and Ph.D. in
Economics from the Massachusetts Institute of Technology. I have served on the faculties of the
Law School and the Department of Economics at the University of Chicago and the Department
of Economics at the Massachusetts Institute of Technology.

2.     I specialize in microeconomics and specifically in the economics of industrial
organization. I am co-author of the book Modern Industrial Organization, a leading text in the
field of industrial organization, and I also have published approximately 150 articles in academic
journals and books. In addition, I serve as Co-Editor of the Journal of Law and Economics, a
leading journal that publishes research applying economic analysis to industrial organization and
legal matters; serve on the Editorial Board of Competition Policy International, a journal devoted
to competition policy; and serve on the Advisory Board of the Journal of Competition Law and
Economics. I have also served as an Associate Editor of the International Journal of Industrial
Organization and Regional Science and Urban Studies, and on the Editorial Board of Intellectual
Property Fraud Reporter. I was the 2014 Distinguished Fellow of the Industrial Organization
Society.

3.     In addition to my academic experience, I served as Deputy Assistant Attorney General
for Economic Analysis, Antitrust Division, U.S. Department of Justice from October 2006
through January 2008. My responsibilities included supervising approximately 50 Ph.D.
economists, helping formulate antitrust policy toward ongoing proposed mergers, analyzing
general antitrust policies both horizontal and vertical, and communicating such policies to
foreign and domestic agencies, as well as to practitioners. I also served as a Commissioner of the
Antitrust Modernization Commission, created by Congress to evaluate U.S. antitrust laws. I have
served as a consultant to the Department of Justice and Federal Trade Commission on the
Horizontal Merger Guidelines, as a general consultant to the Department of Justice and Federal
Trade Commission on antitrust matters, as a member of the American Bar Association Advisory
Committee that advises the incoming President on antitrust policy, and as an advisor to the
Bureau of the Census on the collection and interpretation of economic data. I also helped create
and teach in a program sponsored by the Federal Judicial Center to train judges on antitrust
matters.


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I.     VERTICAL MERGERS GENERATE BENEFITS.

10.     The proposed Microsoft-Activision merger is a vertical merger, not a horizontal one. A
horizontal merger eliminates a rival and creates upward pricing pressure due to the loss of that
rival. In contrast, a vertical merger does not eliminate a rival and creates downward pricing
pressure, which as a general matter benefits consumers. Both types of mergers can have
additional benefits and harms.

11.    A vertical merger combines firms with complementary assets, does not involve the
elimination of a competitor to either the upstream or downstream merging firm, and generates
well-recognized, procompetitive effects that must be considered in any attempt to determine the
net effect of the merger on competition and consumer welfare.6 These vertical merger benefits
arise from the alignment of investment incentives or business strategies of the merging firms, the
internalization of pricing externalities, and the reduction of transaction costs between the
merging firms.

12.    In limited circumstances a vertical merger can harm competition, but a complete analysis
would need to show that the harms exceed the benefits. In analyzing the effect of a vertical
merger on competition, the analyst must account for the procompetitive effects as well as any
incentives to harm rivals in order to figure out the net effect of any vertical transaction. If the
analyst ignores the benefits, he can only find harms. Without a demonstration that harms of a
vertical merger exceed the benefits, one risks preventing procompetitive mergers that would
enhance efficiency and improve consumer welfare.




6
       The procompetitive effects of a vertical merger are well recognized, including in Prof. Lee’s own
       academic publications. See, e.g., Dennis W. Carlton and Jeffrey M. Perloff, Modern Industrial
       Organization, Pearson, 2005, Chapter 12; Dennis W. Carlton (2020), “Transaction Costs and
       Competition Policy,” International Journal of Industrial Organization, 73:1-14; Dennis W.
       Carlton, Georgi V. Giozov, Mark A. Israel, and Allan L. Shampine (2022), “A Retrospective
       Analysis of the AT&T/Time Warner Merger,” Journal of Law and Economics, 65(S2); Gregory
       S. Crawford, Robin S. Lee, Michael D. Whinston, and Ali Yurukoglu (2018), “The Welfare
       Effects of Vertical Integration in Multichannel Television Markets,” Econometrica, 86(3): 891-
       954; Ronald H. Coase (1937), “The Nature of the Firm,” Econometrica, 4(16): 386-405; Oliver E.
       Williamson (1971), “The vertical integration of production: market failure considerations,”
       American Economic Review, 61(2): 112-123; Bengt Holmström and John Roberts (1998), “The
       boundaries of the firm revisited,” Journal of Economic Perspectives, 12(4):73-94.


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Appendix A: Curriculum Vitae and Testimony
DENNIS WILLIAM CARLTON                                                             June 2023
Senior Managing Director

Business Address:          Compass Lexecon                     (202) 753-5206
                           555 12th Street NW, Suite 501
                           Washington, DC 20004

                           332 South Michigan Avenue           (312) 322-0215
                           Chicago, Illinois 60604

Email Address:             dcarlton@compasslexecon.com

                                           EDUCATION

Ph.D., MASSACHUSETTS INSTITUTE OF TECHNOLOGY, Cambridge, Massachusetts: Economics,
     1975.

M.S., MASSACHUSETTS INSTITUTE OF TECHNOLOGY, Cambridge, Massachusetts: Operations
     Research, 1974.

A.B., HARVARD UNIVERSITY (Summa cum laude): Applied Math and Economics, 1972.

                                          EMPLOYMENT

COMPASS LEXECON (formerly Lexecon), (2008 – present) Senior Managing Director; LEXECON INC.,
   (1977 – 2006), President 1997 – 2001, Senior Managing Director 2003 - 2006

UNIVERSITY OF CHICAGO, Booth School of Business, David McDaniel Keller Professor of Economics
    (2011 – July 2022; Emeritus July 2022- present); Katherine Dusak Miller Professor of Economics
    (2008 – 2011); Professor of Economics (1984 – 2008); Law School, Professor of Economics (1980
    – 1984); Department of Economics, Assistant Professor (1976 – 1979); Associate Professor (1979)

U.S. DEPARTMENT OF JUSTICE, Washington, District of Columbia (2006 – 2008) Deputy Assistant
     Attorney General for Economic Analysis, Antitrust Division

MASSACHUSETTS INSTITUTE OF TECHNOLOGY, Cambridge, Massachusetts, Department of
   Economics (1975 – 1976) Instructor in Economics

                              OTHER PROFESSIONAL EXPERIENCE

HARVARD UNIVERSITY, Public Policy Summer Course in Economics (1977), Professor

BELL TELEPHONE LABORATORIES (Summers 1976, 1977)

JOINT CENTER FOR URBAN STUDIES OF M.I.T. AND HARVARD UNIVERSITY, Cambridge,
    Massachusetts (1974 - 1975)

CHARLES RIVER ASSOCIATES, Cambridge, Massachusetts (Summers 1971, 1972) Research
   Assistant
                                     FIELDS OF SPECIALIZATION

Theoretical and Applied Microeconomics
Industrial Organization

                              ACADEMIC HONORS AND FELLOWSHIPS

Keynote Address, 32nd Annual Workshop of the Competition Law & Policy Institute of New Zealand,
      2021
2020 Award for Best Article in Economic Inquiry for the article “Antitrust Treatment of Nonprofits: Should
      Hospitals Receive Special Care? (with C. Capps and G. David)”.
Best Academic Economics Article in Antitrust - 2019 Antitrust Writing Awards, given by Concurrences
      and George Washington University Law School for the article “Vertical Most-Favored-Nation
      Restraints and Credit Card No-Surcharge Rules” (with R. Winter) in The Journal of Law and
      Economics.
Harris Professor Lecture, Clemson University, 2019
Taft Lecture, New York Bar Association, 2018
Keynote Address, CRESSE Conference, June 2018
Best Academic Economics Article in Antitrust - 2016 Antitrust Writing Awards, given by Concurrences
      and George Washington University Law School for the article “Rethinking Antitrust in the Presence
      of Transaction Costs: Coasian Implications” (with B. Keating) in Review of Industrial Organization.
Keynote Address, Federal Trade Commission, Auto Distribution: Current Issues and Future Trends,
      January 19, 2016
Award for Antitrust Litigation Consultants of the Year 2015, awarded by Corporate Vision
Keynote Address, International Industrial Organization Conference, 2014
The 2014 Distinguished Fellow, Industrial Organization Society
Economist of the Year, Global Competition Review, 2014
Keynote Address, Sixth Annual Federal Trade Commission Microeconomics Conference, 2013
Heath Memorial Lecture, University of Florida, 2013
Award (w. Mark Israel) for Best Antitrust Analysis in Litigated Cases, Global Competition Review, 2013
Keynote Address, 21st Annual Workshop of the Competition Law & Policy Institute of New Zealand, 2010
Keynote Address, Japanese Symposium on Competition, sponsored by Japan Fair Trade Commission,
      2009
Recipient of Inaugural Robert F. Lanzilotti Prize, awarded by the Industrial Organization Society for Best
      Paper in Antitrust Economics, 2008
Keynote Address to Israel Antitrust Conference, 2008
Lewis Bernstein Memorial Antitrust Lecture, Washington, D.C., 2006
Distinguished Visitor, University of Melbourne, April 2005
Milton Handler Lecture, New York, 2004
Keynote Address to the International Competition Network, Mexico, 2004
Alexander Brody Distinguished Lecture, Yeshiva University, 2000
Ph.D. Thesis chosen to appear in the Garland Series of Outstanding Dissertations in Economics
Recipient of the 1977 P.W.S. Andrews Memorial Prize Essay, best essay in the field of Industrial
      Organization by a scholar under the age of thirty
National Science Foundation Grant, 1977 - 1985
Recipient of Post-doctoral Grant from the Lincoln Foundation, 1975
National Science Foundation Fellowship, 1972 - 1975
Phi Beta Kappa, 1971
John Harvard Award, 1970
Detur Book Prize, 1969
Edwards Whitaker Award, 1969
M.I.T., National Scholar Award, 1968




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                          PROFESSIONAL AFFILIATIONS AND ACTIVITIES

Appointed to ABA Leadership in Antitrust Section: 2018-2019
Participant in the FTC Competition and Consumer Protection Hearings: "The State of U.S. Antitrust Law",
       September 21, 2018 (Session 1) and “Merger Retrospective Hearing”, April 12, 2019
Co-Organizer and Instructor, Antitrust Law and Economics Institute, Federal Judicial Center, 2017, 2018,
       2023
Member, Task Force on International Divergence in Dominance Standards, American Bar Association
       2017 - 2018
Board Member, The Taub Center for Social Policy Studies, 2017 - present
Member, U.S. Chamber of Commerce International Competition Policy Expert Group for report on
       International Trade and Competition, 2017
Appointed Member of the ABA Presidential Transition Task Force, Antitrust Law, 2016
Appointed Member of the ABA Presidential Transition Task Force, Antitrust Law, 2012
Advisory panel to the Department of Justice and the FTC on the merger guidelines, 2010
Co-editor, The Journal of Law and Economics, 1980 - present
Visiting Committee, MIT, Department of Economics, 1995 - 2011
Member, Advisory Board, Economics Research Network, 1996 - present
Member, Advisory Board of Antitrust and Regulation Abstracts, Social Science Research Network, 1998
       - present
Advisory Board, Massachusetts Institute of Technology, Department of Economics, 1999
Editorial Board, Competition Policy International (CPI), 2010 - present, Co-Editor, Competition Policy
       International (CPI), 2004 – 2009
Member, Economic Task Force – Antitrust Division, American Bar Association, 2010
Advisory Board, Journal of Competition Law and Economics, 2004 - present
Deputy Assistant Attorney General for Economic Analysis, Antitrust Division, U.S. Department of Justice,
       2006 – 2008
Presidential Appointment to the Antitrust Modernization Commission, 2004 – 2007
Invited Panelist at Public Hearing on the Retail Banking Sector Inquiry: Payment Cards, before the
       European Commission in Brussels, Belgium, July 17, 2006.
Consultant on Merger Guidelines to the FTC, 2003
Professor, George Mason Institute for Judges, October 2001
Chairman, FTC Round Table on Empirical Industrial Organization (September 11, 2001)
Participant in the Round Table on the Economics of Mergers Between Large ILECS before the Federal
       Communications Commission, February 5, 1999
Member, Steering Committee, Social Science Research Council, Program in Applied Economics, 1997 -
       1999
Participant in roundtable discussions on "The Role of Classical Market Power in Joint Venture Analysis,"
       before the Federal Trade Commission, November 19, 1997 and March 17, 1998.
Participant in meetings with Committee of the Federal Reserve on Payment Systems, June 5, 1997
Associate Editor, Regional Science and Urban Economics, 1987 - 1997
Resident Scholar, Board of Governors of the Federal Reserve System, Summer, 1995
Accreditation Committee, Graduate School of Business, Stanford University, 1995
Associate Editor, The International Journal of Industrial Organization, 1991 - 1995
Editorial Board, Intellectual Property Fraud Reporter, 1990 - 1995
Consultant on Merger Guidelines to the U.S. Department of Justice, 1991 - 1992
Member, Advisory Committee to the Bureau of the Census, 1987 - 1990
National Bureau of Economic Research, Research Associate
Member, American Economic Association, Econometrics Society




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                                              BOOKS

Market Behavior Under Uncertainty, Ph.D. Thesis, Massachusetts Institute of Technology (September
    1975); Garland Publishing (1984).

Modern Industrial Organization, Scott, Foresman & Co., co-authored with Jeffrey Perloff, first edition
    (1990), (Chapter 17 of first edition reprinted as “The Economics of Information” for the University of
    Connecticut, Food Marketing Policy Center (1989)), second edition (1994), translated into Chinese,
    French, Hungarian and Italian; Addison Wesley Longman, third edition (2000), fourth edition
    (2005), translated into Chinese (2009).


                                      RESEARCH PAPERS

"The Equilibrium Analysis of Alternative Housing Allowance Payments," (with Joseph Ferreira) Chapter 6
     of Analysis of a Direct Housing Allowance Program, The Joint Center for Urban Studies of M.I.T.
     and Harvard University, (July 1975).

"Theories of Vertical Integration," presented at Fourth Annual Telecommunications Conference. Appears
     in a volume of Proceedings of the Fourth Annual Telecommunications Conference, Office of
     Telecommunications Policy, (April 1976).

"Uncertainty, Production Lags, and Pricing," American Economic Review, (February 1977).

"Selecting Subsidy Strategies for Housing Allowance Programs," (with Joseph Ferreira) Journal of Urban
     Economics, (July 1977).

"Peak Load Pricing With Stochastic Demand," American Economic Review, (December 1977).
     (Reprinted in Economic Regulation edited by P.L. Joskow, Edward Elgar Publishing Limited, 1998
     and Reprinted in The Economics of Public Utilities edited by Ray Rees, Professor of Economics at
     the University of Munich, Germany, 2005.)

"The Distribution of Permanent Income," (With R. Hall) Income Distribution and Economic Inequality,
     edited by Zvi Griliches, et al. (Halsted Press, 1978).

"Vertical Integration--An Overview," in Congressional Record Hearings on the Communications Act of
      1978. Bill H.R. 13105, (August 3, 1978).

"Market Behavior with Demand Uncertainty and Price Inflexibility," American Economic Review,
     (September 1978).

"Vertical Integration in Competitive Markets Under Uncertainty," Journal of Industrial Economics, (March
      1979). Awarded the P.W.S. Memorial Prize for the best essay in the field of Industrial Organization
      by a scholar under the age of thirty.

"Valuing Market Benefits and Costs in Related Output and Input Markets," American Economic Review,
     (September 1979).

"Contracts, Price Rigidity and Market Equilibrium," Journal of Political Economy, (October 1979).

"Why New Firms Locate Where They Do: An Econometric Model," in Studies in Regional Economics,
    edited by W. Wheaton, (Urban Institute, 1980).




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"Benefits and Costs of Airline Mergers: A Case Study," (with W. Landes and R. Posner) Bell Journal of
     Economics, (Spring 1980). (Reprinted in "Air Transport" in Classics In Transport Analysis series,
     edited by Kenneth Button and Peter Nijkamp, 2001.)

"The Limitations of Pigouvian Taxes as a Long Run Remedy for Externalities," (with G. Loury) Quarterly
     Journal of Economics, (November 1980).

"The Law and Economics of Rights in Valuable Information: A Comment," Journal of Legal Studies,
     (December 1980).

"Price Discrimination: Vertical Integration and Divestiture in Natural Resources Markets," (with J. Perloff)
      Resources and Energy, (March 1981).

"The Spatial Effects of a Tax on Housing and Land," Regional Science and Urban Economics,
     (November 1981).

"Comments on Weicher," The Journal of Law and Economics, (December 1981).

Comment, in Sherwin Rosen ed. Studies in Labor Markets, University of Chicago Press, (1981).

"Planning and Market Structure," in The Economics of Information and Uncertainty, edited by J.J. McCall,
     University of Chicago Press, (1982).

"The Disruptive Effect of Inflation on the Organization of Markets," in Robert Hall, ed. The Economics of
     Inflation, University of Chicago Press, (1982).

"The Need for Coordination Among Firms With Special Reference to Network Industries," (with J. M.
     Klamer) University of Chicago Law Review, (Spring 1983).

"A Reexamination of Delivered Pricing," The Journal of Law and Economics, (April 1983).

"Futures Trading, Market Interrelationships, and Industry Structure," American Journal of Agricultural
     Economics, (May 1983).

"The Regulation of Insider Trading," (with D. Fischel), Stanford Law Review, (May 1983), reprinted in J.
     Macey ed., Classics in Corporate Law and Economics, Edward Elgar Publishing (2008), reprinted
     in part in Roberto Romano, Foundations of Corporate Law, Oxford University Press (1993), and
     Corporate Law Series – Insider Trading, Edward Elgar Publishing (2012).

"The Location and Employment Choices of New Firms: An Econometric Model with Discrete and
     Continuous Endogenous Variables," The Review of Economics and Statistics, (August 1983).

"Economic Goals and Remedies of the AT&T Modified Final Judgment," (with W. Lavey), Georgetown
     Law Review, (August 1983).

"Equilibrium Fluctuations When Price and Delivery Lags Clear the Market," Bell Journal of Economics,
     (Autumn 1983).

"Energy and Location," Energy Costs, Urban Development, and Housing, Brookings Institution, (1984).

"Futures Markets: Their Purpose, Their History, Their Growth, Their Successes and Failures," Journal of
     Futures Markets, (September 1984). (Reprinted in Futures Markets edited by A.G. Malliaris and
     W.F. Mullady, Edward Elgar Publishing Limited, 1995; and in Classic Futures: Lessons from the
     Past for the Electronics Age, edited by Lester Telser, Risk Books, 2000.)


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“The Economics of Gray-Market Imports,” (with C. DeMuth), written for the Coalition to Preserve the
     Integrity of American Trademarks (COPIAT), (May 1985).

"The Limitation of Pigouvian Taxes As A Long Run Remedy for Externalities: Extension of Results,"
     (with G. Loury) Quarterly Journal of Economics, (August 1986).

"The Rigidity of Prices," American Economic Review, (September 1986).

"The Theory and The Facts of How Markets Clear: Is Industrial Organization Valuable for Understanding
     Macroeconomics?" in Handbook of Industrial Organization, eds. Schmalensee and Willig, (1989).

"Market Power and Mergers in Durable-Good Industries," (with R. Gertner), The Journal of Law and
     Economics, (October 1989).

“Comments on Vertical Integration and Market Foreclosure,” Brookings Papers on Economic Activity:
    Microeconomics, (1990).

Book Review of Tirole's “The Theory of Industrial Organization”, Journal of Political Economy, (June
     1990).

"The Genesis of Inflation and the Costs of Disinflation: Comment," Journal of Money, Credit & Banking,
     (August 1991, Part 2).

"The Theory of Allocation and its Implications for Marketing and Industrial Structure: Why Rationing is
     Efficient," The Journal of Law and Economics, (October 1991).

"The Economics of Cooperation and Competition in Electronic Services Network Industries," in
     Economics of Electronic Service Networks, Wildman Steven ed., Praeger Press, (1992).

"Merger Policy and Market Definition Under the EC Merger Regulation," (with W. D. Bishop).
     Conference on Antitrust in a Global Economy, Fordham Corporate Law Institute, (1994).

"The Antitrust Economics of Credit Card Networks," (with A. Frankel) Antitrust Law Journal, (Winter
     1995).

"Economic Organization and Conflict," Journal of Institutional and Theoretical Economics, (March 1995).

"Antitrust and Higher Education: Was There a Conspiracy to Restrict Financial Aid?" (with G.
      Bamberger and R. Epstein) The Rand Journal of Economics, (Vol. 26, No. 1, Spring 1995, pp. 131-
      147).

"The Competitive Effects of Line-of-business Restrictions in Telecommunications," (with K. Arrow and H.
     Sider), Managerial and Decision Economics, (Vol. 16, pp. 301-321, 1995). (Reprinted in
     Deregulating Telecommunications - The Baby Bells Case for Competition, edited by Richard S.
     Higgins and Paul H. Rubin, John Wiley & Sons Ltd., 1995.)

"The Antitrust Economics of Credit Card Networks: Reply to Evans and Schmalensee," (with A. Frankel),
     Antitrust Law Journal, (Spring 1995).

"Antitrust and Payment Technologies," (with A. Frankel), Review, Federal Reserve Bank of St. Louis
      (November/December 1995).

"Antitrust Policy Toward Mergers When Firms Innovate: Should Antitrust Recognize the Doctrine of
      Innovation Markets?" Testimony before the Federal Trade Commission Hearings on Global and
      Innovation-based Competition (October 1995).
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"You Keep on Knocking But You Can't Come In: Evaluating Restrictions on Access to Input Joint
     Ventures," (with S. Salop), Harvard Journal of Law & Technology, (Volume 9, Summer, 1996).
     (Reprinted in e-Commerce Antitrust & Trade Practices, Practicing Law Institute, 2001.)

"Comments on Causes and Consequences of Airline Fare Wars," Brookings Papers on Economic
    Activity: Microeconomics, (1996).

"A Critical Assessment of the Role of Imperfect Competition in Macroeconomics," in Market Behavior and
     Macro Economic Modeling, Brakman, Van Ees, & Kuipers (eds.), MacMillan Press (1997).

"Price Rigidity," Business Cycles and Depressions, David Glasner ed., Garland Publishing, Inc., (1997).

"Communication Among Competitors: Game Theory and Antitrust," (with R. Gertner and A. Rosenfield),
    George Mason Law Review, (1997). (Reprinted in e-Commerce Antitrust & Trade Practices,
    Practicing Law Institute, 2001.)

"Comments on Born and Viscusi," Brookings Papers on Economic Activity: Microeconomics, (1998).

"Antitrust and Higher Education: MIT Financial Aid (1993)," (with G. Bamberger), The Antitrust
      Revolution, in eds. J. Kwoka and L. White, (Oxford University Press, 3rd edition 1999).

"Market Power and Vertical Restraints in Retailing: An Analysis of FTC v. Toys 'R' Us," (with H. Sider),
     The Role of the Academic Economist in Litigation Support, edited by Daniel Slottje, North Holland,
     (1999).

“The Economics of Religion, Jewish Survival and Jewish Attitudes Toward Competition on Torah
     Education,” (with A. Weiss), Journal of Legal Studies, (2001). (Reprinted in Essential Readings on
     Jewish Identities, Lifestyles and Beliefs, edited by Stanford M. Lyman, Gordian Knot Books, 2003).

“A General Analysis of Exclusionary Conduct and Refusal to Deal -- Why Aspen and Kodak are
     Misguided,” Antitrust Law Journal, (2001). (Reprinted in e-Commerce Antitrust & Trade Practices,
     Practicing Law Institute, 2001.)

“The Lessons from Microsoft,” Business Economics, (January 2001).

"Lessons from Halacha About Competition and Teaching," (with A. Weiss), Center for Business Ethics
     Social Responsibility, http://besr.org/library/competition.html, (March 2001).

"The Choice of Organizational Form in Gasoline Retailing and The Costs of Laws Limiting that Choice,"
     (with A. Blass), The Journal of Law and Economics, (October 2001). Reprinted in Franchise
     Contracting and Organization, edited by Francine Lafontaine, Elgar Publishing, (2005).

"Should The Merger Guidelines Be Scrapped? Introduction to a Debate," in Symposium On The Antitrust
     Analysis Of Mergers: Merger Guidelines vs. Five Forces, 33 U. WEST L.A. L. REV. (2001).

"Free Riding and Sales Strategies for the Internet," (with J. Chevalier), The Journal of Industrial
     Economics, (December 2001).

“The Strategic Use of Tying to Preserve and Create Market Power in Evolving Industries,” (with M.
     Waldman), The Rand Journal (Vol. 33, No. 2, Summer 2002). (Reprinted in B. Klein and A. Lerner
     eds. Economics of Antitrust Law, Edward Elgar Publishing Ltd, 2008, and Recent Developments
     in Monopoly and Competition Policy, The International Library of Critical Writings in Economics,
     edited by George Norman, Edward Elgar Publishing Ltd, 2008.)



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"The Competitive Effects of Fannie Mae," (with D. Gross and R. Stillman) in Housing Matters: Issues in
     American Housing Policy, Fannie Mae (January 2002, reprinted 2004).

"Intellectual Property, Antitrust and Strategic Behavior," (with R. Gertner), in eds. Adam Jaffee and
       Joshua Lerner, Innovation Policy and the Economy, Volume 3, MIT Press (2003).

"Airline Networks and Fares," (with G. Bamberger), Handbook of Airline Economics, 2nd ed., Darryl
       Jenkins, ed., McGraw Hill (2003).

"Contracts that Lessen Competition -- What is Section 27 for, and How Has it Been Used?" (with David
     Goddard), in Mark N. Berry and Lewis T. Evans eds., Competition Law at the Turn of the Century:
     A New Zealand Perspective, Victoria University Press (2003).

Interview, Economists’ Roundtable, Antitrust Magazine, (Spring 2003).

“The Relevance for Antitrust Policy of Theoretical and Empirical Advances in Industrial Organization,”
     (Fall 2003), George Mason Law Review.

"The Control of Externalities in Sports Leagues: An Analysis of Restrictions in the National Hockey
     League," (with A. Frankel and E. Landes), Journal of Political Economy, (February 2004), reprinted
     in Recent Developments in the Economics of Sport, edited by W. Andreff (2011).

"An Empirical Investigation of the Competitive Effects of Domestic Airline Alliances," (with G. Bamberger
     and L. Neumann), The Journal of Law and Economics, Vol. 47, No. 1, (April 2004, pp. 195-222).

“Why Barriers to Entry are Barriers to Understanding,” American Economic Review, (May 2004).

“Using Economics to Improve Antitrust Policy,” Milton Handler Lecture, Columbia Business Law Review,
     (June 2004).

“The Proper Role for Antitrust in an International Setting,” (Keynote address: Second Annual Conference
     of the International Competition Network (ICN), Merida City, Mexico (June 25, 2003), appears as
     Appendix to “Using Economics to Improve Antitrust Policy”, Columbia Business Law Review (June
     2004).

“Econometric Analysis of Telephone Mergers,” (with H. Sider) pp. 373-395 in American Bar Association,
    Econometrics: Legal, Practical, and Technical Issues, (2005).

“How Economics Can Improve Antitrust Doctrine Towards Tie-in Sales,” (with M. Waldman), Competition
    Policy International, (Spring 2005).

Preface to: “Law and Economics of the Mexican Competition Laws,” by Francisco Gonzalez de Cossio
     (2005).

“Transaction Costs, Externalities and “Two-Sided” Payment Markets,” (with A. Frankel), Columbia
     Business Law Review, No. 3 (2005).

“Predation and the Entry and Exit of Low-Fare Carriers,” (with G. Bamberger), in Advances in Airline
     Economics: Competition Policy and Antitrust, Darin Lee, ed., (2006).

“Why Tie An Essential Good,” (with Michael Waldman), in Hahn R. ed., Antitrust Policy and Vertical
    Restraints, AEI-Brookings, (July 2006).

“Market Definition: Use and Abuse,” Competition Policy International (Spring 2007)


                                                   -8-
Interview with Deputy Assistant Attorney General, The Antitrust Source (February 2007)

Separate Statement of Dennis W. Carlton, in The Report of the Antitrust Modernization Commission,
    (April 2007)

“Does Antitrust Need to be Modernized?,” Journal of Economic Perspectives (Summer 2007)

“The Year in Review: Economics at the Antitrust Division 2006-2007” (with K. Heyer),
     Review of Industrial Organization, (2007).

“Economic Analysis of Competition Practices in the EU and the U.S.: A View from Chief Economists,”
     (with M. Salinger), Competition Policy International (Autumn 2007).

“Merger Analysis,” Palgrave Dictionary, (with J. M. Perloff), (2008).

“Tying,” (with M. Waldman), in W. Collins ed. Issues in Competition Law and Policy, American Bar
     Association, (2008).

“Barriers to Entry,” in W. Collins ed. Issues in Competition Law and Policy, American Bar Association,
      (2008).

“Product Variety and Demand Uncertainty: Why Mark-ups Vary with Quality,” (with James D. Dana Jr.),
     Journal of Industrial Economics (2008)

“Regulation, Antitrust, and Trinko,” (With H. Sider), in eds. J. Kwoka and L. White, The Antitrust
     Revolution, (2008).

“A Solution to Airport Delays,” (with W. Whalen, K. Heyer and O. Richard), Regulation (2008).

“Should ‘Price Squeeze’ Be A Recognized Form of Anticompetitive Conduct?,” Journal of Competition
     Law & Economics (2008).

“Safe Harbors for Quantity Discounts and Bundling,” (with M. Waldman), George Mason Law Review
     (2008).

“Appropriate Antitrust Policy Towards Single-Firm Conduct: Extraction vs. Extension” (with K. Heyer),”
     Antitrust, (condensed version of subsequent paper), (Summer 2008).

“Extraction vs. Extension: the Basis for Formulating Antitrust Policy Towards Single-Firm Conduct” (with
      K. Heyer), Competition Policy International, (Autumn 2008).

“Assessing the Anticompetitive Effects of Multiproduct Pricing,” (with P. Greenlee and M. Waldman),
     Antitrust Bulletin, (Fall, 2008).

“The Need to Measure the Effect of Merger Policy and How to Do It,” Antitrust, (condensed version of
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